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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



JOHN STANISE,                                           CASE No.: 1:20-cv-02769-VSB
                       Plaintiffs,
       v.
VICTOR LORIA,
                       Defendant.




                            DEFENDANT VICTOR LORIA’S
                       NOTICE OF MOTION TO TRANSFER VENUE

       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law,

Declaration of Victor Loria, and all the pleadings and proceedings herein, Defendant Victor

Loria (“Movant”), through the undersigned counsel, will move this Court before the Honorable

Vernon S. Broderick at the Thurgood Marshall United States Courthouse, 40 Foley Square, New

York, New York 10007, at a date and time as the Court may direct, for an order transferring this

matter to the United States District Court for the Southern District of Florida.

       PLEASE TAKE FURTHER NOTICE that any opposition papers must be served within

14 days of service of the moving papers, and any reply papers shall be served within 7 days of

service of the opposition papers, pursuant to F.R.C.P. 6 and Local Rule 6.1.




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Dated: New York, New York
       May 4, 2020
                                          Respectfully submitted,

                                          By: s/ Robert A. Magnanini
                                          Robert A. Magnanini
                                          STONE & MAGNANINI LLP
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                                          Attorneys for Defendant Victor Loria




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                                DECLARATION OF SERVICE

I hereby certify that on this date, I caused to be served on all counsel of record, electronically via

the Court’s electronic filing system, a true and correct copy of the foregoing, Defendant’s

Motion to Transfer Venue.

Dated: New York, New York
       May 4, 2020
                                                      Respectfully submitted,

                                                      By: s/ Robert A. Magnanini
                                                      Robert A. Magnanini
                                                      STONE & MAGNANINI LLP
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